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                       UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF NEW YORK

                                                :
 GARY KOOPMANN, TIMOTHY KIDD and
                                                :
 VICTOR PIRNIK, Individually and on Behalf of
                                                :   No. 15 Civ. 7199 (JMF)
 All Others Similarly Situated,
                                                :
                           Plaintiffs,          :
                                                :   (Oral Argument Requested)
                      v.                        :
                                                :
 FIAT CHRYSLER AUTOMOBILES N.V.,                :
 SERGIO MARCHIONNE, RICHARD K.                  :
 PALMER, and SCOTT KUNSELMAN,                   :
                                                :
                           Defendants.          :
                                                :




    MEMORANDUM IN SUPPORT OF DEFENDANTS’ MOTION TO DISMISS
THE EMISSIONS-RELATED CLAIMS FROM THE THIRD AMENDED COMPLAINT




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March 22, 2017
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                                PRELIMINARY STATEMENT

               In January 2017, the Environmental Protection Agency (“EPA”) and the

California Air Resources Board (“CARB”) issued Notices of Violation (“NOVs”) to Defendant

Fiat Chrysler Automobiles N.V. (“FCA NV”) and non-party FCA US LLC (“FCA US”;

collectively with FCA NV, “FCA”), alleging that FCA should have disclosed to the EPA and

CARB under U.S. emissions regulations that about 100,000 model year 2014 to 2016 vehicles

included software features known as Auxiliary Emission Control Devices (“AECDs”). Hoping

to capitalize on those NOVs, Plaintiffs now seek to manufacture additional claims for securities

fraud in their Third Amended Complaint (“TAC”; ECF No. 69).

               This Court should reject Plaintiffs’ new emissions-related claims because the

TAC contains no particularized facts to support a strong inference that Defendants acted with

scienter, as required under Fed. R. Civ. P. 9(b) and the Private Securities Litigation Reform Act

of 1995 (“PSLRA”). Specifically, the TAC does not allege that the EPA or CARB informed

FCA or any of the other Defendants prior to any of the challenged statements that FCA had not

complied with U.S. emissions regulations. “The Second Circuit has firmly rejected this ‘fraud

by hindsight’ approach.”     Podany v. Robertson Stephens, Inc., 318 F. Supp. 2d 146, 156

(S.D.N.Y. 2004) (Lynch, J.) (quoting Stevelman v. Alias Research, Inc., 174 F.3d 79, 85 (2d Cir.

1999)).

               Having no particularized allegations of prior notice, Plaintiffs instead rely on

(i) vague allegations attributed to two “Confidential Witnesses”; (ii) discussions during earnings

calls of industry conditions related to widely publicized emissions allegations against

Volkswagen; (iii) irrelevant excerpts of pleadings filed in a different case about different vehicles

manufactured by Volkswagen in an attempt to plead impermissibly “guilt by association”; and

(iv) a report by the German transportation ministry referencing different FCA NV vehicles sold
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in Europe and not in the United States, which actually made no allegations, let alone findings,

that FCA did anything unlawful. None of Plaintiffs’ fraud-by-hindsight allegations pleads, with

the required particularity, that any Defendant knew or was consciously reckless—a state of mind

approximating actual intent—of FCA’s alleged noncompliance with U.S. emissions regulations

at the time of the challenged statements.

               Tellingly, Plaintiffs’ allegations here are significantly less particularized than

those concerning FCA US’s admitted noncompliance with certain regulations promulgated by

the National Highway Traffic Safety Administration (“NHTSA”) that the Court previously found

sufficient to withstand dismissal. This Court’s finding that Plaintiffs adequately pled scienter on

those claims rested on the more particularized allegations in Plaintiffs’ Second Amended

Complaint (“SAC”; ECF No. 38) concerning three letters from NHTSA to Individual Defendants

Sergio Marchionne and Scott Kunselman allegedly informing them, prior to the challenged

statements, that FCA US was not in compliance with NHTSA regulations. (ECF No. 50 (“MTD

Decision”) at 17–18 (citing “NHTSA’s direct correspondence to FCA’s top executives”).) Here,

by contrast, Plaintiffs do not point to a single letter or report (internal or external) provided to

Defendants (or any other executives involved in FCA’s public disclosures) indicating that FCA

was not in compliance with any emissions law or regulation.

               To try to plead fraud, Plaintiffs rely heavily on speculative assertions that they

attribute to two confidential witnesses, who claim that unspecified reports were “forwarded up”

from an unnamed “senior manager” through various layers of management whom they speculate

would have “forward[ed] these reports to Sergio Marchionne.” (TAC ¶ 366.) But the TAC does

not allege that these confidential witnesses (who appear to be low- or mid-level former FCA US

employees) had any personal contact with senior FCA management, including Mr. Marchionne.




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Even worse, these allegations are so vague that they do not provide any indication of when or to

whom these unspecified reports were sent and, most importantly, do not allege that anything in

those unspecified reports was inconsistent with the challenged statements. Plaintiffs do not

allege, for instance, that any of those reports stated that any FCA vehicles, much less the 2014 to

2016 Dodge Ram 1500 pickup trucks and Jeep Grand Cherokee SUVs with diesel engines

addressed by the NOVs, released excess emissions or included undisclosed AECDs. Courts in

this Circuit regularly reject such meaningless confidential-witness allegations as a basis to infer

scienter. (See cases cited infra at 16–19.)

               Grasping at straws, Plaintiffs try to plead scienter by asserting that

Mr. Marchionne—like anyone else who read the newspaper over the past 18 months—knew

generally of Volkswagen’s emissions issues. (TAC ¶¶ 382–90.) These allegations, which say

nothing about Mr. Marchionne’s knowledge of whether FCA vehicles included undisclosed

AECDs or had other emissions issues, are plainly not sufficient to plead scienter as a matter of

law. See, e.g., In re PXRE Grp., Ltd., 600 F. Supp. 2d 510, 540–44 (S.D.N.Y. 2009) (Sullivan,

J.) (knowledge of facts “the industry was well aware of” that received “widespread publicity,”

and behavior of defendants’ “‘competitors’ or ‘peers,’” “fail to support an inference of fraudulent

intent”), aff’d sub nom. Condra v. PXRE Grp. Ltd., 357 F. App’x 393 (2d Cir. 2009).

               Similarly, copying and pasting large portions of a complaint filed against

Volkswagen, as Plaintiffs do in the TAC, does not plead scienter against a different automaker

and its executives. The TAC merely alleges that engines included in Volkswagen’s and FCA’s

vehicles used “computer components” designed by third-party Robert Bosch GmbH (“Bosch”).

(See, e.g., TAC ¶ 215.) Plaintiffs speculate that Defendants somehow knew that these “computer

components” designed by Bosch—an outside, third-party vendor—included “defeat devices”




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simply because the software developed by Bosch that was included in Volkswagen vehicles

allegedly included “defeat devices.”1 But courts in this District routinely reject such attempts to

plead “guilt by association,” and this Court should do so here because of the absence of any

particularized allegation of knowledge by Defendants of any alleged “defeat device” in the

“computer components” Bosch designed for FCA. See, e.g., In re Flag Telecom Holdings, Ltd.,

308 F. Supp. 2d 249, 261–62 (S.D.N.Y. 2004) (Conner, J.) (dismissing claims where plaintiffs

attempted    to    plead    scienter   by    citing    “transactions   entered    into    between

unnamed . . . competitors”).

               Finally, Plaintiffs distort government and press reports to claim that FCA NV did

not comply with European emissions regulations (TAC ¶¶ 312–13) when, in fact, the very

reports that they cite state the opposite. Plaintiffs rely principally on a report by the German

transportation ministry (TAC ¶¶ 27, 312) that expressly states that “no unlawful defeat device

was found in any other vehicle than in certain [Volkswagen] Group vehicles” (Ex. 2 at 119).

And the news articles cited in the TAC (TAC ¶ 313) similarly state that, except for Volkswagen,

“no other carmaker has been found using the ‘defeat device’ software” (Ex. 3).

               Plaintiffs’ newly added emissions claims should be dismissed with prejudice.2


1
        The NOVs concerning FCA assert that FCA did not disclose certain AECDs during the
vehicle-certification process. AECDs, unlike so-called “defeat devices,” are permissible so long
as they are disclosed in the certification applications to EPA and CARB. Contrary to Plaintiffs’
conclusory allegations that “[t]hese AECDs were illegal” because “[t]he Clean Air Act expressly
prohibits defeat devices” (TAC ¶ 221), neither NOV—unlike in the Volkswagen matter—
included any determination that FCA used “defeat devices.” Rather, the NOVs merely stated
that the allegedly undisclosed AECDs “may” or “might” be “defeat devices,” subject to further
EPA and CARB investigation. (Declaration of Joshua S. Levy, dated March 22, 2017, Ex. 4 at
6; Ex. 5 at 2.)
2
       The TAC re-pleads all of the claims from the SAC, including those the Court previously
dismissed with prejudice concerning (i) FCA NV’s recall and warranty reserves; (ii) Plaintiffs’
claims on behalf of non-U.S. purchasers; and (iii) all claims against Richard Palmer, FCA’s



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            THE NEW EMISSIONS-RELATED ALLEGATIONS IN THE TAC

       A.      U.S. Emissions Regulations

               As an automaker that sells vehicles in the United States, FCA US must comply

with U.S. regulations regarding vehicle emissions for, among other things, oxides of nitrogen

(“NOx”). (TAC ¶¶ 193–201.) To obtain the certificates of conformity required to sell vehicles

in the United States, FCA US must disclose to the EPA all AECDs installed in the vehicles for

which it seeks EPA certification. (TAC ¶ 202 (citing 40 C.F.R. § 86.1844-01(d)(11)).) An

AECD is an “element of design which senses temperature, vehicle speed, engine RPM,

transmission gear, manifold vacuum, or any other parameter for the purpose of activating,

modulating, delaying, or deactivating the operation of any part of the emission control system.”

(Id. (citing 40 C.F.R. § 86.1803-01).)3

               Notwithstanding Plaintiffs’ repeated attempts to conflate AECDs with “defeat

devices”—for instance, by incorrectly claiming that AECDs constitute “illegal software” (id.

¶ 220)—AECDs are permissible under U.S. regulations so long as manufacturers disclose them.

(Id. ¶ 202 (citing 40 C.F.R. §§ 86.1844-01(d)(11)).) “Defeat devices,” by contrast, are AECDs

that “reduce[] the effectiveness of the emission control system under conditions which may

reasonably be expected to be encountered in normal vehicle operation and use.” (Id. ¶ 221

(citing 40 C.F.R. §§ 86.1803-01, 86.1809-10).) “Defeat devices” are not permissible. 40 C.F.R.

Chief Financial Officer (“CFO”). For the reasons set forth in its MTD Decision, this Court
should again dismiss those claims. (MTD Decision at 24–26.) Although the Court previously
rejected certain of Defendants’ arguments in the MTD Decision, including that FCA NV’s
statements regarding its “substantial[] compliance with the relevant global regulatory
requirements” (id. at 4) were inactionable puffery under Second Circuit precedent, Defendants
incorporate those arguments herein by reference.
3
       Because FCA US sells vehicles in California, the company must also comply with
CARB’s emissions regulations. FCA NV must similarly adhere to relevant European emissions
laws and regulations for vehicles sold in EU Member States. (TAC ¶¶ 241, 308, 312, 322, 324.)



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§§ 86.1803-01, 86.1809-10. If an AECD falls within one of certain enumerated exceptions, such

as to “protect[] the vehicle against damage,” then it is not a “defeat device.” Id.

       B.      FCA NV’s Alleged Misstatements Regarding Emissions

               FCA NV disclosed its regulatory obligations regarding emissions in various SEC

filings and Annual Reports throughout the extended putative class period (October 13, 2014 to

February 6, 2017). The TAC points to several such filings from fiscal years 2014 and 2015:

      “Our vehicles and the engines that power them must also comply with extensive regional,
       national and local laws and regulations and industry self-regulations (including those that
       regulate . . . emissions . . . . We are substantially in compliance with the relevant global
       regulatory requirements affecting our facilities and products. We constantly monitor
       such requirements and adjust our operations to remain in compliance.” (Ex. 6 at 185; Ex.
       7 at 27; Ex. 8 at 155–56; Ex. 9 at 158–59; Ex. 10 at 25.)

      “EPA and CARB regulations require that a vehicle’s emissions performance be
       monitored with [On-Board Diagnostics (‘OBD’)] systems. We have implemented
       hardware and software systems in all our vehicles to comply with the OBD
       requirements.” (Ex. 6 at 186; Ex. 7 at 28; Ex. 8 at 156; Ex. 9 at 159; Ex. 10 at 25.)

      “In combination with last generation exhaust gases after treatment systems, our diesel
       engine families comply with Euro 6 emission regulations.” (Ex. 6 at 178; Ex. 7 at 108;
       Ex. 8 at 149; Ex. 9 at 152.)

      “[An] audit revealed that all current production vehicle calibrations are compliant with
       applicable regulations.” (Ex. 11 at 104.)

       C.      The EPA’s and CARB’s NOVs to Volkswagen

               On September 18, 2015, the EPA and CARB issued widely publicized NOVs to

Volkswagen stating that Volkswagen had “manufactured and installed defeat devices in certain

model year 2009 through 2015 diesel light-duty vehicles equipped with 2.0 liter engines.” (Ex.

12 at 1; see also TAC ¶¶ 20, 207.) On September 22, 2015, in response to the Volkswagen press




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reports, FCA US released a press statement that “FCA U.S. does not use ‘defeat devices.’”

(TAC ¶ 316; Ex. 13.)4

               Mr. Marchionne, FCA’s CEO, also discussed the Volkswagen NOVs during

certain earnings calls. The TAC challenges statements that Mr. Marchionne made during a

January 2016 earnings call (TAC ¶¶ 302–03) when he compared FCA vehicles with the

Volkswagen vehicles that were the subject of the EPA’s and CARB’s NOVs against

Volkswagen:

       [A]fter the advent of dieselgate . . . FCA has undertaken a pretty thorough review
       and a thorough audit of its compliance teams. I think we feel comfortable in
       making the statement that there are no defeat mechanisms or devices present in
       our vehicles. And I think the cars perform in the same way on the road as they do
       in the lab under the same operating conditions.

(Ex. 14 at 11; see also Ex. 15 at 7 (describing Mr. Marchionne’s initial thoughts on

Volkswagen’s emissions issues and their effect on diesel vehicle sales throughout the industry).)

       D.      The German Transportation Ministry’s “‘Volkswagen’ Commission of
               Inquiry”

               Based on a May 23, 2016 news article, the TAC alleges that the German motor

transport authority (“KBA”) tested certain FCA NV vehicles in 2016 (after all of the challenged

statements referenced in the preceding sections) and purportedly “concluded that there was

‘sufficient evidence of an impermissible defeat device.’” (TAC ¶¶ 27, 312–13.) In fact, the May

2016 report issued by the German Federal Ministry of Transport and Digital Infrastructure

(“BMVI”) based on the KBA’s testing does not state that FCA (or any car manufacturer other




4
      The TAC mistakenly dates this statement as having been made on September 22, 2016
(TAC ¶ 316), when it was actually made on September 22, 2015 (Ex. 13).



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than Volkswagen) violated any emissions regulations or included “impermissible defeat devices”

in any of their vehicles. (Ex. 2 at 119–25.)5

               The BMVI report, entitled “Report by the ‘Volkswagen’ Commission of

Inquiry,” followed the German government’s investigation of “the allegations made against

VW.” (Id. at 4.) This report explained that the KBA had tested emissions levels on certain

Volkswagen vehicles, as well as on “53 models” containing European diesel engines

manufactured by “other marketable German and foreign manufacturers,” including four FCA NV

vehicles. (Id. at 4, 32, 70, 78, 90.) The BMVI reported that the KBA had concluded that

Volkswagen used “defeat devices” in certain diesel engine vehicles in Europe (id. at 12), but that

“no unlawful defeat device was found in any other vehicle than in certain VW Group vehicles”

(id. at 119 (emphasis added)). The Fortune article cited in the TAC similarly emphasized (in a

portion of the article from which the TAC does not quote) that “no other carmaker has been

found using the ‘defeat device’ software.” (Ex. 3 (emphasis added).) And another press report

cited in the TAC quoted (again in a portion not quoted in the TAC) the Italian transportation

minister’s statement following the BMVI report that FCA NV’s vehicles “are all certified

[compliant] in Italy.” (Ex. 16.)

       E.      The EPA’s and CARB’s NOVs to FCA

               On January 12, 2017, the EPA issued an NOV to FCA alleging that FCA failed to

disclose eight AECDs in applications for certificates of conformity for approximately 100,000

vehicles (out of the 6.6 million vehicles FCA US sold in the United States from 2014 to 2016).

5
        The Court can consider this report, which is publicly available at
http://www.bmvi.de/SharedDocs/EN/publications/bericht-untersuchungskommission-
volkswagen.html?nn=188294, on a motion to dismiss because the TAC “relies heavily upon its
terms and effect, which renders the document ‘integral’ to the complaint.” Chambers v. Time
Warner, Inc., 282 F.3d 147, 153 (2d Cir. 2002); see Lombardi v. Whitman, 485 F.3d 73, 75–76
& n.1 (2d Cir. 2007) (considering publicly available government reports on a motion to dismiss).



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(Ex. 4 at 1–2.) The NOV concerned only the model year 2014–2016 Dodge Ram 1500 pickup

trucks and Jeep Grand Cherokee SUVs with diesel engines. (Id.) That same day, CARB also

issued an NOV to FCA making similar assertions concerning those same vehicles. (Ex. 5 at 1–

2.)

                Even accepting the allegations of the TAC, January 12, 2017 is the first time that

any regulator (whether in the U.S. or anywhere else in the world) made any allegations that

FCA’s vehicle certifications were not in compliance with emissions regulations. In response to

the NOVs, FCA US issued a statement expressing its opinion that “FCA US believes that its

emission control systems meet the applicable requirements.” (TAC ¶ 320.)

                The TAC misleadingly alleges that the EPA and CARB concluded in the NOVs

that the vehicles addressed by the NOVs included “defeat devices.” (TAC ¶¶ 215–23, 354.) In

fact, unlike in the NOVs issued to Volkswagen, neither the EPA nor CARB made that claim.

(See Ex. 4 at 6 (“[O]ne or more of the AECDs, whether alone or in combination, may be defeat

devices.” (emphasis added)); Ex. 5 at 2 (investigating whether the allegedly undisclosed AECDs

“might be considered a defeat device” (emphasis added)); cf. Ex. 12 at 1 (Volkswagen

“manufactured and installed defeat devices in certain model year 2009 through 2015 diesel light-

duty . . . engines”).)

        F.      Two Confidential Witness Allegations

                The TAC includes a handful of conclusory allegations attributed to two

confidential witnesses (“CW1” and “CW2”), whose titles and positions are not alleged but who

appear to be former low- or mid-level employees of FCA US who worked in its “Tech Center” in

Auburn Hills, Michigan. (TAC ¶¶ 355–70.) CW1 supposedly “evaluat[ed] vehicles for fuel

economy” and “schedul[ed] emissions testing” (id. ¶ 356), but the TAC does not allege that

CW1 actually conducted any emissions testing. CW1 makes the unremarkable statement that


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emissions tests are “super important,” because “you have to make sure that the data is accurate,

and can be replicated in EPA tests.” (Id. ¶ 358.) Despite not alleging any contact between CW1

and FCA management, CW1 nonetheless speculates, without any basis, that “data gathered from

these engine tests” would be compiled into unspecified “reports,” presented to an unnamed

“senior manager,” “forwarded up” multiple levels through the company, and potentially “then

forward[ed]” further up to Mr. Marchionne. (Id. ¶ 366.)

               CW2 allegedly worked with computer models to assess engine performance. (Id.

¶¶ 360–63.) According to CW2, FCA “paid close attention to the so-called EPA performance

cycle,” and he recalled “pressure . . . from higher-ups who always demanded improvements.”

(Id. ¶¶ 364, 367.) The TAC does not allege that CW2 had any contact with these unidentified

“higher-ups” but, rather, that he “report[ed] to John Alexander” who “reported to Jeffrey P.

Lux . . . or Robert (Bob) E. Lee . . . who in turn reported directly to Marchionne.” (Id. ¶ 359.)

Despite being at least three levels removed from FCA’s senior management in a company that

CW2 criticized as an unusually “flat organization”—and alleging no personal contact with senior

management—CW2 describes Mr. Marchionne as “hard-nosed” and “detail oriented,” and

speculates that CEO Marchionne “made the decisions on whether to incorporate hardware or

software changes.” (Id. ¶¶ 367–69.) CW2 also vaguely claims that he “was not surprised that

the U.S. Justice Department is investigating Chrysler,” and referred to the NOVs issued to

Volkswagen to further speculate that “[n]ow all auto manufacturers have to cheat.” (Id. ¶ 370.)

                                          ARGUMENT

               Scienter “is an essential element of plaintiff’s [securities fraud] cause of action.”

L.L. Capital Partners, L.P. v. Rockefeller Ctr. Props, Inc., 939 F. Supp. 294, 299 (S.D.N.Y.

1996) (Kaplan, J.). To plead scienter under the PSLRA and Fed. R. Civ. P. 9(b), the TAC must

“‘state with particularity facts giving rise to a strong inference that the defendant acted with the


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required state of mind.’” Tellabs v. Makor Issues & Rights, Ltd., 551 U.S. 308, 314 (2007)

(quoting 15 U.S.C. § 78u-4(b)(2)). To qualify as “strong,” an inference of scienter “must be

more than merely plausible or reasonable—it must be cogent and at least as compelling as any

opposing inference of nonfraudulent intent.” Id.

               In this Circuit, a plaintiff can establish a strong inference of scienter only by

pleading particularized facts “(1) showing that the defendants had both motive and opportunity

to commit the fraud or (2) constituting strong circumstantial evidence of conscious misbehavior

or recklessness.” ATSI Commc’ns, Inc. v. Shaar Fund, Ltd., 493 F.3d 87, 99 (2d Cir. 2007).

Because Plaintiffs have not pled the required strong inference of scienter with respect to their

emissions allegations, this Court should dismiss any claims based on those allegations with

prejudice.

I.     PLAINTIFFS HAVE NOT ALLEGED ANY COGNIZABLE MOTIVE TO
       COMMIT FRAUD.

               The Court previously rejected Plaintiffs’ motive allegations in the SAC (see MTD

Decision at 15 n.3), and Plaintiffs’ renewed attempt to plead motive and opportunity to commit

fraud is also insufficient as a matter of law.

               “[I]n attempting to show that a defendant had fraudulent intent, it is not sufficient

to allege goals that are possessed by virtually all corporate insiders, such as the desire

to . . . sustain the appearance of corporate profitability or the success of an investment, or the

desire to maintain a high stock price in order to increase executive compensation.” (MTD

Decision at 15 n.3 (quoting S. Cherry St., LLC v. Hennessee Grp., LLC, 573 F.3d 98, 108–09 (2d

Cir. 2009)).) “[I]f scienter could be pleaded on that basis alone, virtually every company in the

United States that experiences a downturn in stock price could be forced to defend securities

fraud actions.” Kalnit v. Eichler, 264 F.3d 131, 140 (2d Cir. 2001). As this Court has previously



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held, “those sorts of generic allegations,” such as “that Defendants had an interest in keeping

[FCA NV’s] stock price high and an opportunity to commit fraud by virtue of their

positions, . . . are insufficient to satisfy the scienter requirement.” (MTD Decision at 15 n.3.)

               Having no allegations of insider trading, Plaintiffs’ motive allegations based

solely on the supposed “importance” of the Jeep and Ram vehicles (well over 90% of which are

not even covered by the NOVs, which concern only two diesel-engine models, not the full range

of gasoline-engine Jeep and Ram vehicles) are precisely the type of general profit motives that

are not sufficient as a matter of law. (TAC ¶¶ 210–14; see, e.g., id. ¶ 212 (Richard Palmer,

FCA’s CFO, stated that “Jeep Grand Cherokee had its strongest sales in the U.S. since 2005” and

noted the growth in the “Jeep and Ram brands”); id. ¶ 213 (Mr. Marchionne discussed the need

to “deal with the development of both Jeep and the Ram brand[s]”).)

II.    THE COMPLAINT ALLEGES NO PARTICULARIZED FACTS TO SUPPORT A
       COGENT AND COMPELLING INFERENCE THAT ANY DEFENDANT ACTED
       WITH SCIENTER IN MAKING EMISSIONS DISCLOSURES.

               Where, as here, Plaintiffs have not pled a cognizable motive to defraud, Plaintiffs

must “identify[] circumstances indicating conscious behavior by the defendant,” and “the

strength of the circumstantial allegations must be correspondingly greater.” Kalnit, 264 F.3d at

142; see Chill v. Gen. Elec. Co., 101 F.3d 263, 270 (2d Cir. 1996) (stressing the “significant

burden on the plaintiff in stating a fraud claim based on recklessness”). At a minimum, Plaintiffs

must allege “conscious recklessness—i.e., a state of mind approximating actual intent, and not

merely a heightened form of negligence,” where Defendants’ conduct “represent[ed] an extreme

departure from the standards of ordinary care to the extent that the danger was either known to

the defendant or so obvious that the defendant must have been aware of it.” S. Cherry St., 573

F.3d at 109 (emphasis added). The allegations in the TAC regarding emissions fall far short of

this heightened standard.


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       A.      Unlike the SAC’s NHTSA Allegations, Plaintiffs Have Not Alleged that
               Defendants Received any Letters, Reports or Other Documents
               Contradicting Their Challenged Statements Regarding Emissions.

               The TAC does not allege any specific instances in which Defendants received

information that was contrary to their public statements regarding emissions, such as an internal

report or a letter from the EPA or CARB containing inconsistent information. To survive a

motion to dismiss, courts in this District routinely require plaintiffs bringing securities-fraud

claims to identify specific reports or other information demonstrating that Defendants were

aware that their public statements were inaccurate. See Plumbers & Steamfitters Local 773

Pension Fund v. Canadian Imperial Bank of Commerce, 694 F. Supp. 2d 287, 299 (S.D.N.Y.

2010) (Pauley, J.) (dismissing securities-fraud claims where plaintiffs did not “provide specific

instances in which Defendants received information that was contrary to their public

declarations”); Steinberg v. Ericsson LM Tel. Co., 2008 WL 5170640, at *13 (S.D.N.Y. Dec. 10,

2008) (Patterson, J.) (“[T]he Complaint identifies none of this adverse information other than

stating, generically, that it was contained in various ‘internal corporate documents, conversations

and connections with other corporate officers and employees, attendance at management and

Board of Directors meetings and committees thereof, and via reports’ and ‘internal non-public

reports’ provided to Defendants.”).

               Thus, in sustaining Plaintiffs’ NHTSA-related claims at the pleading stage, this

Court held that Plaintiffs had sufficiently alleged that Defendants were aware of nonpublic facts

contradicting their public statements because the SAC included detailed allegations regarding

“NHTSA’s direct correspondence to FCA’s top executives”—in particular, three letters NHTSA

sent to Messrs. Marchionne and Kunselman—that allegedly contradicted their subsequent

statements. (MTD Decision at 17–18.) By contrast, the TAC does not allege that any regulator

notified any of the Defendants prior to their alleged misstatements of noncompliance with any


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emissions regulations, let alone “direct correspondence to FCA’s top executives.” (Id. at 18.) In

fact, the TAC does not claim that the EPA or CARB communicated any concerns to FCA or

FCA employees relating to undisclosed AECDs (or the supposed “defeat devices”) prior to the

issuance of the NOVs in January 2017.

               At most, Plaintiffs selectively quote from a May 2016 news article, published

after all but two of the alleged misstatements challenged in the TAC, referring to KBA testing of

four FCA NV vehicles. (TAC ¶¶ 27, 312, 314.) As a preliminary matter, even if this limited

testing could be construed as an “investigation” of FCA, an “investigation ‘alone is not sufficient

to give rise to a requisite cogent and compelling inference of scienter.’” Patel v. L-3 Commc’ns

Holdings Inc., 2016 WL 1629325, at *10 n.31 (S.D.N.Y. Apr. 21, 2016) (Caproni, J.) (quoting In

re Gentiva, 932 F. Supp. 2d 352, 380 (E.D.N.Y. 2013) (Spatt, J.)); see also In re Manulife Fin.

Corp., 276 F.R.D. 87, 102 (S.D.N.Y. 2011) (Keenan, J.) (“[T]he fact that a regulator is fulfilling

[its] role cannot be sufficient to allege scienter.”). And the TAC contains no allegations that

KBA’s testing was reviewed by or delivered to any of the Defendants in any event.

               Moreover, the article itself expressly states that, except for Volkswagen, “no other

carmaker has been found using the ‘defeat device’ software.” (Ex. 3.) The article refers to a

report from the German transportation authority that, contrary to the allegations of the TAC (see

TAC ¶¶ 27, 312), did not state that any FCA vehicle contained illegal defeat devices. In fact, the

report said the opposite: “no unlawful defeat device was found in any other vehicle than in

certain VW Group vehicles.” (Ex. 2 at 119.) The report focused on Volkswagen (as its title,

“Report by the ‘Volkswagen’ Commission of Inquiry,” made clear) and referenced only four




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FCA NV diesel vehicles sold in Europe,6 none of which was the subject of the EPA’s or CARB’s

later NOVs. (Id. at 4, 70, 78, 90.) Thus, on its face, this report plainly did not put FCA on notice

of emissions noncompliance concerning different vehicles sold in the United States, let alone

anyplace else. See In re PXRE Grp., 600 F. Supp. 2d at 542–43 (rejecting inference of scienter

based on news articles that described only general risks that “offered no insight whatsoever with

respect to the specific alleged problems”); Teamsters Local 445 Freight Div. Pension Fund v.

Dynex Capital Inc., 531 F.3d 190, 196 (2d Cir. 2008) (“broad reference to raw data” does not

“raise[] an inference of scienter”). In fact, in response to this report, the Italian transportation

minister publicly stated that FCA NV’s vehicles “are all certified [compliant] in Italy.” (Ex.

16.)7

        B.     Plaintiffs’ Conclusory “Confidential Witnesses” Allegations Do Not Support
               a Strong Inference of Scienter.

               By their own admission (see TAC ¶¶ 359, 366), Plaintiffs’ two “confidential

witnesses” had absolutely no direct contact with FCA senior management. The TAC does not

identify any specific reports provided to senior management (by the confidential witnesses or

otherwise). To the extent the TAC references vague and unspecified “reports,” Plaintiffs do not


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        Tellingly, the report found that all four tested FCA NV vehicles fully “complied with the
NOx threshold value . . . during the cold NEDC test.” (Ex. 2 at 70; see also id at 32, 78, 90.)
The report stated that emissions were “dependent on the outside temperature,” and noted that
FCA NV “substantiate[d]” that the temperature range “is necessary in order to protect the engine
from damage.” (Id. at 70; see also id at 32, 78, 90) As noted above, even under U.S.
regulations, an AECD is not a “defeat device” if the AECD “protect[s] the vehicle against
damage.” 40 C.F.R. §§ 86.1803-01, 86.1809-10.
7
        To the extent the TAC suggests (without pleading any facts) that FCA conducted an
internal investigation in advance of either the EPA’s or CARB’s NOVs or the BMVI report, the
TAC contains no allegations that any such internal investigation found anything problematic or
contrary to Defendants’ public statements. See In re Sanofi, 155 F. Supp. 3d 386, 407 (S.D.N.Y.
2016) (Castel, J.) (“[P]laintiffs[’] inference of scienter based on the unreported findings of an
unreported internal investigation . . . is unreasonable.”).



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allege that those “reports” contained any information contrary to Defendants’ alleged

misstatements.         Courts in this District regularly reject at the pleading stage such vague,

unspecified confidential-witness allegations.

                  To adequately plead information presented through confidential witnesses, the

Second Circuit requires the witnesses to be “described in the complaint with sufficient

particularity.”    Novak v. Kasaks, 216 F.3d 300, 314 (2d Cir. 2000).         As a result, courts

“discount[] scienter allegations” from confidential witnesses unless, unlike here, the allegations

“show that individual defendants actually possessed the knowledge highlighting the falsity of

public statements; conclusory statements that defendants ‘were aware’ of certain information,

and mere allegations that defendants ‘would have’ or ‘should have’ had such knowledge is

insufficient.” Glaser v. The9, Ltd., 772 F. Supp. 2d 573, 588–91 & n.12 (S.D.N.Y. 2011)

(Holwell, J.) (collecting cases).

                  1.       CW1’s Vague Allegations Do Not Demonstrate Scienter.

                  The TAC does not allege that CW1 had any contact with FCA senior

management. Nor does CW1 claim that anyone at FCA was provided with information (from

CW1 or anyone else) that any FCA vehicles included undisclosed AECDs or “defeat devices.”

CW1 merely speculates that unspecified reports containing “data from . . . engine tests” may

have reached Mr. Marchionne. (TAC ¶ 366.) Even if that speculative allegation concerning

unspecified reports provided at an unspecified time were entitled to any weight, CW1 does not

allege that the “data” showed excess emissions.

                  These paltry allegations have no probative value with respect to scienter, and

provide even less information than those regularly rejected by courts in this District. See Local

No. 38 Int’l Bhd. of Elec. Workers Pension Fund v. Am. Exp. Co., 724 F. Supp. 2d 447, 461–62

(S.D.N.Y. 2010) (Pauley, J.) (allegations that reports “would have been reported to” senior


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management “fail to raise a strong inference” of scienter), aff’d, 430 F. App’x 63 (2d Cir. 2011);

In re Doral Fin. Corp., 563 F. Supp. 2d 461, 466 (S.D.N.Y. 2008) (Rakoff, J.) (finding

allegations of a “confidential informant” to be “so vague as to be meaningless,” where plaintiffs

alleged that the witness attended meetings where contradictory audit reports were presented, but

failed to allege any “time frame” for the meetings or “information regarding how extensively or

in what manner the reports were discussed”), aff’d sub nom. W. Virginia Inv. Mgmt. Bd. v. Doral

Fin. Corp., 344 F. App’x 717 (2d Cir. 2009); see also In re MRU Holdings, 769 F. Supp. 2d 500,

516–17 (S.D.N.Y. 2011) (Berman, J.) (“Plaintiffs’ reliance on ‘confidential witnesses’ . . . ‘must

be discounted’ because ‘[i]t is hard to see how information from anonymous sources could be

deemed “compelling” or how [the Court] could take account of plausible opposing inferences.

Perhaps these confidential sources have axes to grind. Perhaps they are lying. Perhaps they

don’t even exist.’” (quoting Higginbotham v. Baxter Int’l, Inc., 495 F.3d 753, 756–57 (7th Cir.

2007))).

                2.    CW2’s Speculative Allegations Do Not Demonstrate the Required
                      Strong Inference of Scienter.

                The TAC alleges that CW2 “worked as a[n] . . . engineer in the vehicle

performance and fuel economy and emissions departments at the Tech Center” at least three

levels below senior FCA US management. (TAC ¶¶ 359–64.) CW2’s speculative allegations

regarding Mr. Marchionne, from whom CW2 was three levels removed and had no direct

contact, are not sufficient as a matter of law. See Campo v. Sears Holdings Corp., 371 F. App’x

212, 217 (2d Cir. 2010) (discounting allegations from confidential witnesses who had no contact

with individual defendants); Local No. 38, 724 F. Supp. 2d at 460–61 (allegations of “rank-and-

file” confidential witnesses who “had no contact with the Individual Defendants” “fail to raise a

strong inference” of scienter); In re Am. Express Co., 2008 WL 4501928, at *8 (S.D.N.Y. Sept.



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26, 2008) (Pauley, J.) (“Plaintiffs have also failed to allege any facts showing that the

confidential sources . . . had any contact with the Individual Defendants or would have

knowledge of what they knew or should have known during the Class Period.”), aff’d sub nom.

Slayton v. Am. Express Co., 604 F.3d 758 (2d Cir. 2010).

                Moreover, the allegations regarding CW2 provide no evidence of wrongdoing by

any of the Defendants. CW2 does not allege any pressure to commit wrongdoing, such as by

directing that “defeat devices” be installed in any diesel vehicles. (TAC ¶ 364.) Instead, CW2

merely alleges that it “could have been” technologically feasible for FCA vehicles “to have

released too much nitrogen oxide in the air.” (TAC ¶ 370.) CW2 does not allege that any

information or internal report showing excess emissions, undisclosed AECDs or “defeat devices”

was provided to any member of FCA management.              See Campo, 371 F. App’x at 217

(confidential   witnesses did not “offer[] testimony supporting plaintiffs’ allegations

that the . . . reports contained information” contradicting alleged misstatements, and “had no

knowledge of whether [individual defendants] actually accessed or reviewed the reports”); In re

Citigroup Inc., 753 F. Supp. 2d 206, 245 (S.D.N.Y. 2010) (Stein, J.) (“Plaintiffs cannot rely on

assertions that the information presented by confidential witnesses was known or common

knowledge within the company; these assertions are too vague and conclusory to support a

finding that defendants knew they were making false statements or made those statements with

reckless disregard for their truth or falsity.”). And CW2 actually cites Volkswagen (not FCA) to

support his generalized statement that “all auto manufacturers have to cheat.” (TAC ¶ 370); see

In re Flag Telecom Holdings, 308 F. Supp. 2d at 262 (finding that statements by “an industry

insider” regarding conduct by other market participants failed to establish a strong inference of

scienter).




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                                        *      *       *

              “Despite these colorful accusations, however, there is no allegation that any CW

met the Individual Defendants, reported any concerns, received any instructions, or made any

personal contact with them during the Class Period. The absence of such communication

undermines the inference that Defendants recklessly disregarded the truth.” In re Wachovia

Equity, 753 F. Supp. 2d 326, 352 (S.D.N.Y. 2011) (Sullivan, J.).

       C.     Plaintiffs’ Allegations Concerning Individual Defendants’ Discussion of
              General Industry Trends During FCA NV Earnings Calls Do Not Support a
              Strong Inference of Scienter.

              The TAC claims that Mr. Marchionne’s statements during FCA NV earnings calls

concerning Volkswagen’s emissions issues and the impact of the Volkswagen NOVs on the

automotive industry somehow demonstrate Defendants’ scienter. (TAC ¶¶ 382–90.) It is settled

law, however, that knowledge of “industry-wide” concerns, including the behavior of

“‘competitors’ or ‘peers,’” “fail to support an inference of fraudulent intent.” In re PXRE Grp.,

600 F. Supp. 2d at 540–44.

              Plaintiffs appear to suggest that because “[Mr.] Marchionne was well-aware of

Volkswagen’s scandal” and the subsequent “greater degree of consciousness when it comes to

emissions and the regulatory environment” (TAC ¶¶ 383–84), he therefore should have known

about FCA US’s allegedly undisclosed AECDs. But “[a]n allegation that a defendant merely

‘ought to have known’ is not sufficient to allege recklessness.” Steinberg, 2008 WL 5170640, at

*12 (internal quotation omitted).       Plaintiffs do not allege “any particularized facts[]

demonstrating an egregious refusal to see the obvious.” Koncelik v. Savient Pharm., Inc., 2010

WL 3910307, at *8 (S.D.N.Y. Sept. 29, 2010) (Daniels, J.). For example, the TAC alleges that

“[Mr.] Marchionne discussed aspects of Chrysler’s technologies for achieving emissions

compliance in great detail” during an earnings call (TAC ¶ 385), but that allegation offers no


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support for the claim that Mr. Marchionne was aware of any information contrary to his

challenged statements, such as undisclosed AECDs or an impermissible “defeat device.” The

TAC incorrectly alleges that Mr. Marchionne “review[ed] . . . software used to achieve

[emissions] compliance” (id. ¶ 382), when Mr. Marchionne actually stated that “I think the cars

perform in the same way on the road as they do in the lab,” noting that FCA instituted

“compliance mechanism training for all emission calibration engineers” and a “best practice

program to ensure that we calibrate and certify properly” (id. ¶ 386).8         Plaintiffs’ “bare

assertions, without any further facts or details, do not adequately demonstrate defendants’”

scienter. Goplen v. 51job, Inc., 453 F. Supp. 2d 759, 773 (S.D.N.Y. 2006) (Haight, J.); see In re

Sec. Capital Assurance, Ltd., 729 F. Supp. 2d 569, 596 (S.D.N.Y. 2010) (Batts, J.)

(“‘[K]nowledge of a general economic trend does not equate to harboring a mental state to

deceive, manipulate or defraud.’” (quoting Plumbers & Steamfitters Local 773 Pension Fund,

694 F. Supp. 2d at 300)).

       D.      Plaintiffs’ Allegations Concerning Volkswagen Do Not Demonstrate Scienter
               of FCA or the Individual Defendants.

               In the end, Plaintiffs actually resort to copying and pasting allegations from a

complaint filed against Volkswagen that has nothing to do with FCA. (TAC ¶¶ 371–76, 378–


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        Mr. Marchionne’s statements on the January 2016 earnings call, including that “I think
the cars perform in the same way on the road as they do in the lab” and “I think we feel
comfortable in making the statement that there are no defeat mechanisms or devices present in
our vehicles,” as well as the statement by an FCA US spokesperson on January 12, 2017 that
“FCA US believes that its emission control systems meet the applicable requirements” (TAC
¶¶ 320, 386) (emphasis added), are “inactionable expressions of opinion.” In re EDAP TMS
S.A., 2015 WL 5326166, at *10 (S.D.N.Y. Sept. 14, 2015) (Schofield, J.); see In re Sanofi, 87 F.
Supp. 3d 510, 528 (S.D.N.Y. 2015) (Engelmeyer, J.) (“[S]ubjective statements of opinion are
generally not actionable as fraud . . . . The Second Circuit has firmly rejected this ‘fraud by
hindsight’ approach.” (collecting cases)), aff’d sub nom. Tongue v. Sanofi, 816 F.3d 199 (2d Cir.
2016).




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79.) Plaintiffs’ attempt to fill the glaring gaps in the TAC by making speculative allegations

lifted from the Volkswagen complaint is contrary to Second Circuit precedent that “guilt by

association is impermissible.” In re DDAVP Direct Purchaser, 585 F.3d 677, 695 (2d Cir.

2009). Plaintiffs were required to “plead circumstances providing a factual basis for scienter for

each defendant.” Id. (emphasis added).

               Courts in this District routinely reject “what is essentially a ‘guilt by association’

argument.” In re Flag Telecom Holdings, 308 F. Supp. 2d at 262 (dismissing claims where

plaintiffs attempted to plead scienter against telecommunications company accused of using

swap transactions to manipulate revenue results by citing different “transactions entered into

between unnamed telecom competitors”); Deutsche Zentral-Genossenschaftsbank AG v. HSBC

N. Am. Holdings, Inc., 2013 WL 6667601, at *14 (S.D.N.Y. Dec. 17, 2013) (Torres, J.)

(“Defendants’ knowledge via guilt-by-association theory fails as a matter of law and as a matter

of common sense. . . . Plaintiffs’ knowledge of the practices of UBS proves nothing about its

knowledge of the practices of the HSBC Defendants, who are unrelated to UBS, in the concrete

case at hand.”).

               Although quoting from Volkswagen pleadings alleging that Volkswagen worked

with Bosch to evade U.S. emissions requirements, the TAC does not allege a single fact showing

that FCA or any of the Individual Defendants participated in, or were aware of, any such scheme.

(See TAC ¶¶ 370–81.) Instead, the TAC peppers its Volkswagen allegations with mentions of

FCA in order to advance its impermissible guilt-by-association theory of scienter. For example,

the TAC baldly asserts that unspecified “evidence” in the Volkswagen case “already proves that

Bosch played a critical role in the scheme to evade U.S. emissions requirements for diesel

vehicles, including Volkswagen and Chrysler vehicles”—but the TAC points to no such




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“evidence” regarding FCA. (Id. ¶ 371.) The TAC similarly refers to “[t]he defeat devices

employed by Volkswagen and Chrysler,” but cites only the complaint against Volkswagen, with

no citation to any documents or specific allegations regarding FCA. (Id. ¶ 375.) The TAC also

points to allegations in the Volkswagen matter that Bosch sent correspondence to Volkswagen

“expressly demand[ing] that Volkswagen indemnify Bosch for anticipated liability arising from

the use of the Bosch-created ‘defeat device’” (id. ¶ 372), but the TAC contains no allegations

that Bosch sent any similar correspondence to FCA (see id. ¶¶ 378–79). At most, the TAC

alleges the unremarkable fact that FCA vehicles included software manufactured by Bosch, “the

world’s leading manufacturer of diesel injection systems,” including “engine control units and

sensors.” (Ex. 17.)

              Plaintiffs cannot satisfy the stringent pleading requirements of the PSLRA by

repeating verbatim allegations from someone else’s complaint about a different automaker’s

conduct.9 Thus, in In re Flag Telecom Holdings, Judge Conner rejected allegations of scienter

regarding improper swap transactions based on (i) “articles discussing swap transactions entered

into between unnamed telecom competitors”; (ii) “statements made by an industry



9
        If anything, Plaintiffs’ reference to the Volkswagen litigation supports dismissal of the
claims against FCA. In the Volkswagen securities litigation, Judge Breyer found that plaintiffs
had sufficiently pled scienter because (i) Volkswagen’s CEO, Martin Winterkorn, “received
multiple memoranda . . . regarding the Company’s unlawful use of defeat-device software,”
which he “took home to read as part of his ‘weekend suitcase’”; (ii) “Bosch warned
[Volkswagen’s] top executives, including Winterkorn, that the Company’s intended use for its
emissions-regulating software was illegal”; and (iii) “an internal whistleblower warned
[Volkswagen executives] that the Company was illegally manipulating reported emissions data.”
In re Volkswagen ‘Clean Diesel’ Mktg., Sales Practices, & Prods. Liab., 2017 WL 66281, at *12
(N.D. Cal. Jan. 4, 2017) (emphasis added). The TAC’s scienter allegations—i.e., Mr.
Marchionne may have received unspecified reports from someone at some unspecified time,
none of which is alleged to have included information regarding excess emissions, undisclosed
AECDs or any “defeat device”—are not remotely close to those alleged in the Volkswagen
securities litigation.



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insider . . . that acknowledge such improper swap transactions were a serious issue in the telecom

industry”; (iii) allegations in a different complaint alleging that another company may have

“entered into an improper swap transaction with [defendant]”; and (iv) congressional testimony

from another company about that company’s misconduct. 308 F. Supp. 2d at 262 (emphasis

added); see also In re Merrill Lynch & Co., Inc. Research Reports, 273 F. Supp. 2d 351, 374

(S.D.N.Y. 2003) (Pollack, J.) (“characterizations of snippets of e-mails and conclusions of the

New York Attorney General submitted in a regulatory proceeding for an ex parte injunction” do

not “constitute well-pleaded facts”), aff’d sub nom. Lentell v. Merrill Lynch & Co., 396 F.3d 161

(2d Cir. 2005).10




10
        In its ruling on Defendants’ motion to dismiss the SAC, the Court dismissed all claims
against CFO Palmer with prejudice. (MTD Decision at 24–26.) The TAC contains no new
alleged misstatements by Mr. Palmer, and Plaintiffs do not include him as a Defendant in their
motion for class certification (ECF No. 86 at 1 n.1); all claims against Mr. Palmer should
therefore remain dismissed with prejudice. The TAC also contains no new alleged
misstatements by Mr. Kunselman; to the extent Plaintiffs seek to bring additional claims against
Mr. Kunselman in the TAC (despite not mentioning him at all in their new allegations), those
new claims should be dismissed with prejudice.




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                                      CONCLUSION

              For the foregoing reasons, the Court should dismiss all emissions-related claims

from the TAC with prejudice.


                                                         Respectfully submitted,


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